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                                  Nebraska Supreme Court A dvance Sheets
                                          303 Nebraska R eports
                               ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                                             Cite as 303 Neb. 268



                                        Robert M.   on behalf of        Bella O.,
                                           a minor child, appellee, v.
                                             Danielle O.,    appellant.
                                                    ___ N.W.2d ___

                                           Filed May 31, 2019.     No. S-18-818.

                 1. Protection Orders: Injunction: Appeal and Error. A protection order
                    pursuant to Neb. Rev. Stat. § 42-924 (Cum. Supp. 2018) is analogous
                    to an injunction. Thus, the grant or denial of a protection order is
                    reviewed de novo on the record. In such de novo review, an appellate
                    court reaches conclusions independent of the factual findings of the trial
                    court. However, where the credible evidence is in conflict on a material
                    issue of fact, the appellate court considers and may give weight to the
                    circumstances that the trial judge heard and observed the witnesses and
                    accepted one version of the facts rather than another.
                 2. Protection Orders. Whether domestic abuse occurred is a threshold
                    issue in determining whether an ex parte protection order should be
                    affirmed; absent abuse as defined by Neb. Rev. Stat. § 42-903 (Cum.
                    Supp. 2018), a protection order may not remain in effect.
                 3. Protection Orders: Words and Phrases. Not only is the recipient or
                    target of a credible threat a “victim” of abuse eligible for a domestic
                    abuse protection order under Neb. Rev. Stat. § 42-924 (Cum. Supp.
                    2018), so too are those family members for whose safety the target rea-
                    sonably fears because of the threat.

                 Appeal from the District Court for Sarpy County: PaTricia
               A. Freeman, County Judge. Affirmed.

                 Darren J. Pekny and Annie E. Mathews, of Johnson &amp;
               Pekny, L.L.C., for appellant.

                    No appearance for appellee.
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           Nebraska Supreme Court A dvance Sheets
                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Papik, J.
   Danielle O. appeals a domestic abuse protection order
obtained by Robert M. on behalf of their daughter, Bella O.
Danielle physically attacked two other family members while
Bella was present, but did not attack Bella. The trial court
determined Danielle’s conduct put Bella in fear of bodily
injury by means of a credible threat and thus constituted
domestic abuse as defined by Neb. Rev. Stat. § 42-903(1)(b)
(Cum. Supp. 2018). Although our reasoning differs somewhat
from that of the trial court, we nonetheless affirm.

                        BACKGROUND
   Robert and Danielle are the parents of Bella, born in 2007.
Robert and Danielle never married. In 2013, a North Dakota
court issued an order setting forth Robert’s and Danielle’s
rights and responsibilities concerning Bella. The court granted
the parties joint “decision-making responsibilit[ies]” but gave
Robert “primary residential responsibility,” subject to Danielle’s
unsupervised parenting time, with the caveat that such parent-
ing time would be supervised if Danielle “has a relapse with
regard to alcohol abuse.” At the time of these proceedings,
Robert lived in Nebraska and Danielle lived in Minnesota. This
case arises from an incident that occurred in Minnesota on July
9, 2018, at a duplex Danielle’s mother, Nancy O., shared with
Danielle’s brother, Neill O.

Petition and Ex Parte Domestic
Abuse Protection Order.
  On July 10, 2018, Robert filed a petition and affidavit to
obtain a domestic abuse protection order for Bella against
Danielle under Neb. Rev. Stat. § 42-924 (Cum. Supp. 2018).
The affidavit alleged that on July 9, Danielle and Bella left the
duplex to go to a store but were absent from approximately 6
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
p.m. to 12 a.m. Nancy was unable to reach Danielle or Bella
during that time, even though Bella had a cell phone when
she left. Nancy told Robert that Danielle took Bella’s cell
phone away after Nancy attempted to call and text several
times and that Danielle refused to tell Nancy where they were.
According to Robert’s affidavit, Danielle had only supervised
visitation rights and was not permitted to take Bella anywhere
without supervision due to Danielle’s extensive drug and alco-
hol abuse and criminal history.
   Robert’s affidavit stated that Danielle returned to the duplex
with Bella when Nancy threatened to call the police. Once
there, Danielle assaulted Neill and Nancy in Bella’s presence,
inflicting multiple injuries on Neill’s face and body. Danielle
also kicked in a door, breaking it off the frame. Bella called
Robert and told him she was scared for her safety and for
Nancy’s safety and that police were on their way. Danielle was
arrested for domestic abuse. According to the affidavit, Bella
reported to Robert that Danielle “was believed to be” under the
influence of drugs and/or alcohol. Robert expressed fear that
Danielle would take Bella and not return her.
   The matter was assigned to a county court judge, pursuant
to § 42-924(2) and Neb. Rev. Stat. § 25-2740(2) (Cum. Supp.
2018). The trial court issued an ex parte domestic abuse protec-
tion order on July 10, 2018, generally enjoining Danielle from
in-person contact with Bella and from threatening, restraining,
or assaulting her.
Show Cause Hearing.
   Danielle requested a hearing to show cause why the pro-
tection order should not remain in effect. See Neb. Rev. Stat.
§ 42-925 (Cum. Supp. 2018). At the show cause hearing,
Robert appeared without counsel and the trial court received
his petition and affidavit, summarized above.
   Danielle also appeared at the show cause hearing and was
represented by counsel. She offered a police report concern-
ing the incident. According to the report, when police arrived,
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
Bella was running out of the house with Nancy behind. They
observed Bella holding onto Nancy, crying, and screaming,
“‘[S]he is hurting my uncle,’” multiple times. Nancy told
police that Danielle was inside, damaging things and fighting
Neill. In the duplex, police observed an overturned coffee table
and Danielle and Neill engaged in a struggle.
   Neill reported to police that Danielle had picked Bella up to
go shopping at about 6 p.m. Nancy called multiple times, and
Danielle repeatedly said they were 45 minutes away. When
Danielle and Bella finally returned several hours later, Bella
ran inside the duplex to Nancy. Neill confronted Danielle and
attempted to block her access to the duplex. A physical struggle
ensued, during which Danielle punched and scratched Neill
while he tried to get her out of the residence. Neill estimated
that the struggle lasted 20 minutes.
   Neill said that at some point, Danielle broke open a door
and moved upstairs to where Nancy and Bella were. Neill
said that Danielle then “swung on” Nancy and was trying to
talk to Bella, but Bella was telling her to leave. Neill told
police that Danielle was never abusive toward Bella, but
also that Bella was “scared” and that Neill instructed Bella
to go downstairs. Neill said that after Bella went downstairs,
Danielle followed her and began to throw and damage things.
Neill again attempted to restrain Danielle, and police arrived
shortly thereafter. They observed scratch marks on Neill’s
left elbow, red marks below his left eye, a small swollen
lump above his right eyebrow, and redness around his neck
and ear.
   Nancy told the police that Neill tried to get Danielle to
leave because Bella was crying. Nancy stated that when she
observed Neill struggling with Danielle, who was “swinging,
and scratching at Neill’s face,” she locked a door leading to
the upstairs. Danielle then kicked in that door, breaking the
doorframe, and went to Bella’s room. Nancy reported that
Bella told Danielle to leave and that Danielle went downstairs,
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
started a fight with Neill again, and threw some things. Nancy
then called the police, and she and Bella ran outside.
   Bella told police that prior to the incident at the duplex, she
and Danielle went to a store, but then went to other places that
Bella did not expect to go. Bella said that when they returned
to the duplex, Danielle “got ‘really weird’” and began hit-
ting Neill and hitting and kicking Nancy. Bella said she asked
Danielle to leave, because Danielle was “scaring her.”
   According to the police report, Danielle refused to give a
statement to police and was arrested for misdemeanor domes-
tic assault. Police noted that Danielle stated her fingers or
knuckles were hurt.
   Danielle also testified regarding the incident. She stated that
on July 9, 2018, she was exercising her court-ordered parent-
ing time with Bella. Danielle testified that when Bella asked
to return to the duplex, Danielle took her there. According
to Danielle, Bella had access to Danielle’s cell phone when
she was with Danielle and Danielle gave Bella the cell phone
whenever she asked for it.
   Danielle provided relatively little testimony about the physi-
cal confrontation at the duplex. She did not take issue with
the description of the incident in the police report she offered
into evidence, and she specifically agreed with the statement
in the report attributed to Neill that Danielle was never abu-
sive toward Bella. She also testified that she did not make
any threats toward Bella and presented evidence that she was
not under the influence of drugs or alcohol at the time of
the incident.
Trial Court’s Ruling.
   At the conclusion of the evidence, the trial court ruled that
the protection order would remain in place. In explaining its
ruling on the record, the trial court referenced the evidence
that Danielle attacked Neill and Nancy and threw objects in
Bella’s presence and that Bella was scared. It concluded that
because Danielle’s behavior showed a “pattern of conduct to
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
suggest a credible threat,” the protection order should remain
in place. The trial court subsequently entered a written order
affirming the ex parte domestic abuse protection order.
   Danielle appeals.

                  ASSIGNMENT OF ERROR
   Danielle assigns that the trial court erred in finding that her
actions constituted abuse within the meaning of § 42-903.

                  STANDARD OF REVIEW
   [1] A protection order pursuant to § 42-924 is analogous to
an injunction. Thus, the grant or denial of a protection order
is reviewed de novo on the record. In such de novo review, an
appellate court reaches conclusions independent of the factual
findings of the trial court. However, where the credible evi-
dence is in conflict on a material issue of fact, the appellate
court considers and may give weight to the circumstances that
the trial judge heard and observed the witnesses and accepted
one version of the facts rather than another. Maria A. on
behalf of Leslie G. v. Oscar G., 301 Neb. 673, 919 N.W.2d
841 (2018).

                          ANALYSIS
Statutory Background.
   [2] Before proceeding to Danielle’s arguments, we briefly
review the law governing domestic abuse protection orders.
Under the Protection from Domestic Abuse Act (the Act), Neb.
Rev. Stat. § 42-901 et seq. (Reissue 2016 &amp; Cum. Supp. 2018),
“[a]ny victim of domestic abuse” may seek a domestic abuse
protection order. § 42-924. Whether domestic abuse occurred is
a threshold issue in determining whether an ex parte protection
order should be affirmed; absent abuse as defined by § 42-903,
a protection order may not remain in effect. § 42-924. See
Maria A. on behalf of Leslie G., supra. See, also, Linda N. on
behalf of Rebecca N. v. William N., 289 Neb. 607, 856 N.W.2d
436 (2014).
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
   For purposes of the Act, “[a]buse” is defined by § 42-903(1)
as the occurrence of one or more of the following acts “between
family or household members”:
         (a) Attempting to cause or intentionally and know-
      ingly causing bodily injury with or without a dangerous
      instrument;
         (b) Placing, by means of credible threat, another person
      in fear of bodily injury. . . . or
         (c) Engaging in sexual contact or sexual penetration
      without consent as defined in section 28-318.
Family or household members include persons related by con-
sanguinity, that is, by blood. See, § 42-903(3); Zimmerer v.
Prudential Ins. Co., 150 Neb. 351, 34 N.W.2d 750 (1948).
   As noted above, the trial court found that Bella was a vic-
tim of abuse by determining that Danielle placed Bella in fear
of bodily injury by means of a credible threat. The Act defines
“credible threat” as follows:
      [C]redible threat means a verbal or written threat, includ-
      ing a threat performed through the use of an electronic
      communication device, or a threat implied by a pattern of
      conduct or a combination of verbal, written, or electroni-
      cally communicated statements and conduct that is made
      by a person with the apparent ability to carry out the
      threat so as to cause the person who is the target of the
      threat to reasonably fear for his or her safety or the safety
      of his or her family.
§ 42-903(1)(b).
   Danielle contends that Robert did not demonstrate that Bella
was a victim of a credible threat under § 42-903(1)(b). She
contends that the evidence did not show that her conduct was
“aimed” at Bella, that Danielle’s actions constituted a threat,
or that Danielle made “an implied threat through a ‘pattern of
conduct.’” Brief for appellant at 9.
“Target” of Threat.
   We begin with Danielle’s position that Bella was not entitled
to a protection order because Danielle’s conduct was not aimed
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
at her. On this point, Danielle concedes that she engaged in
violent and aggressive behavior toward Neill and Nancy, but
contends that none of those actions were directed toward Bella.
Danielle asserts that Robert cannot obtain a protection order
on Bella’s behalf under § 42-903(1)(b) for conduct directed
at others.
   We agree with Danielle that § 42-903(1)(b) requires a court
to determine to whom a threat is directed. In defining “credible
threat,” the statute provides that the threat must be “made by a
person with the apparent ability to carry out the threat so as to
cause the person who is the target of the threat to reasonably
fear for his or her safety or the safety of his or her family.”
§ 42-903(1)(b) (emphasis supplied). As the emphasized lan-
guage makes clear, credible threats must have a target.
   The trial court appeared to conclude that a protection
order was justified because Bella was the target of a threat.
Danielle disputes that determination, and we acknowledge
that evidence that Danielle’s actions were directed at Bella
is minimal. Neill told police that Danielle was never abu-
sive toward Bella. And while Bella was in the vicinity when
Danielle committed acts of violence upon Neill, Nancy, and
their property, this record does not show words or actions of
Danielle directed at Bella.
   [3] That said, we do not believe that § 42-903(1)(b) allows
only the target of a credible threat to obtain a protection order.
Section 42-903(1)(b) provides that a credible threat includes
threats that cause the target to “reasonably fear for his or
her safety or the safety of his or her family.” (Emphasis sup-
plied.) This language contemplates the possibility that a threat
will cause the target to fear for the safety of family members.
Given this language, we conclude that not only is the recipient
or target of a credible threat a “victim” of abuse eligible for
a domestic abuse protection order under § 42-924, so too are
those family members for whose safety the target reasonably
fears because of the threat. Indeed, it would make little sense if
a credible threat caused the target to fear for the safety of his or
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                   303 Nebraska R eports
         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
                       Cite as 303 Neb. 268
her family members, but only the target was a victim of abuse
eligible to file for a protection order.
   Under this view of the statute, Bella did not have to be the
target or recipient of a threat in order to be a victim thereof.
Bella would also be a victim of a credible threat if Neill or
Nancy were the targets of a credible threat that caused them to
reasonably fear for Bella’s safety and the other elements of a
credible threat were present. As we will explain in the sections
below, we find that to be the case.

Threat Implied by Pattern
of Conduct.
   Before explaining our reasoning for finding that Neill and
Nancy were the targets of a credible threat that caused them to
reasonably fear for Bella’s safety, we will address Danielle’s
argument that she did not make an implied threat via a pattern
of conduct. Section 42-903(1)(b) allows for credible threats
to take various forms—verbal, written, electronic, implied,
or some combination thereof. Here, there is no evidence that
Danielle made an explicit threat in this case, be it verbal, writ-
ten, or electronic, so any threat for purposes of the Act had to
have been one that was “implied by a pattern of conduct.” See
§ 42-903(1)(b).
   We disagree with Danielle that her conduct did not amount
to an implied threat. While “credible threat” is defined in the
Act, that definition uses the word “threat.” See § 42-903(1)(b).
“Threat” is not further defined, so our basic principles of
statutory interpretation require us to give the word its plain and
ordinary meaning. See State ex rel. Peterson v. Creative Comm.
Promotions, 302 Neb. 606, 924 N.W.2d 664 (2019). The plain
and ordinary meaning of “threat” is a “communication, decla-
ration, or expression of an intention to inflict harm or damage.”
Clement v. State, 309 Ga. App. 376, 379, 710 S.E.2d 590, 592(2011) (collecting dictionary definitions).
   We believe that Danielle’s conduct communicated an
implied threat under this definition. The evidence in the record,
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         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
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particularly the police report, shows that after Danielle arrived
at the duplex, she struck or attempted to strike both Neill
and Nancy, broke open a door, and damaged other property.
Notably, Danielle introduced the police report into evidence
and did not take issue with accounts of the incident contained
therein. This evidence showed that Danielle actually inflicted
harm and damage and acted in a manner that suggested she
would continue to do so. We believe these actions communi-
cated an intention to inflict harm or damage and thus amounted
to a threat.
   We also reject Danielle’s argument that the threat was not
implied by a “pattern of conduct.” Brief for appellant at 12.
It is Danielle’s position that the term “pattern” requires that
an implied threat be communicated by multiple acts, but, she
argues, the evidence here is of a single incident. Id.
   The term “pattern” is not defined in the statute, so, again,
we must give the word its plain and ordinary meaning. See
State ex rel. Peterson, supra. We agree with Danielle that
the plain language meaning of pattern requires multiple acts.
See, Colorado Ethics Watch v. Gessler, 363 P.3d 727, 731(Colo. App. 2013) (quoting Webster’s College Dictionary 991
(1991), defining “‘[p]attern’” as “‘a combination of . . . acts
. . . forming a consistent or characteristic arrangement’”);
La Crosse County v. Mark P., Nos. 95-3582, 95-3583, 1996
WL 74401 at *3 (Wis. Feb. 22, 1996) (unpublished opinion
listed in table at 200 Wis. 2d 245, 546 N.W.2d 888 (1996))
(“[t]he plain meaning of the word ‘pattern’ refers to an
action which occurs more than once”). See, also, Black’s
Law Dictionary 1308 (10th ed. 2014) (defining “pattern” as
“[a] mode of behavior or series of acts that are recognizably
consistent”).
   But while a pattern of conduct cannot be demonstrated by a
single act, we do not view Danielle’s actions at the duplex as
a single act. As we have noted, Danielle directed violent and
aggressive behavior at multiple victims in multiple locations
in the duplex and she also broke a doorframe and damaged
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         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
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other property. We believe Danielle’s series of actions at the
duplex are sufficient to amount to a pattern of conduct.
   In reaching this conclusion, we find distinguishable Knopik
v. Hahn, 25 Neb. App. 157, 902 N.W.2d 716 (2017), a Nebraska
Court of Appeals opinion upon which Danielle relies. At issue
in Knopik was whether the plaintiffs were entitled to a harass-
ment protection order based on a confrontation in which their
neighbor used profane and aggressive language and punched
one of the plaintiffs over a 10- to 20-minute time period. The
Court of Appeals reversed the entry of a harassment protection
order. Danielle contends that her actions did not amount to a
pattern of conduct under Knopik.
   Danielle’s argument regarding Knopik overlooks, however,
that the harassment statutes and the credible threat prong of
the domestic abuse statute are not identical. In the harassment
statutes, “[h]arass” is defined to be a “knowing and will-
ful course of conduct,” and “[c]ourse of conduct” is further
defined to be a “pattern of conduct composed of a series of
acts over a period of time, however short, evidencing a con-
tinuity of purpose.” Neb. Rev. Stat. § 28-311.02(2)(a) and (b)
(Reissue 2016). Furthermore, the harassment statutes explicitly
state that they were enacted to deal with “stalking offenses.”
§ 28-311.02(1). In Knopik, the Court of Appeals found that the
neighbor had not engaged in the “type of stalking offense nec-
essary to support issuance of a harassment protection order.”
25 Neb. App. at 164, 902 N.W.2d at 721-22. We do not read
Knopik to have turned on whether the neighbor engaged in
a single or multiple acts and thus do not believe it supports
Danielle’s argument that she did not engage in a pattern of
conduct here.

Reasonable Fear for
Safety of Bella.
   In addition to finding that Danielle made an implied threat
via a pattern of conduct, we find that this threat caused
the targets or recipients of the threat—Neill and Nancy—to
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         ROBERT M. ON BEHALF OF BELLA O. v. DANIELLE O.
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reasonably fear for the safety of Bella. Of course, neither Neill
nor Nancy testified at the show cause hearing, so we do not
have direct evidence on this question. Having reviewed the
record, however, we find circumstantial evidence that leads
us to find that it is more likely than not that they reasonably
feared for Bella’s safety. See Maria A. on behalf of Leslie G.
v. Oscar G., 301 Neb. 673, 919 N.W.2d 841 (2018) (domestic
abuse protection order petitioner must establish abuse by pre-
ponderance of evidence).
   The police report suggests that after Danielle returned to
the duplex with Bella, Neill and Nancy were doing their best
to keep Bella away from Danielle. This included Nancy’s
locking the door to the upstairs area of the duplex only to
have Danielle kick the door in and go to speak to Bella. The
police report indicates that Bella was scared at this point and
that Neill told her to go downstairs. Again, Danielle followed
her and began to throw and damage items downstairs. Nancy
then ran outside with Bella. In addition to their own apparent
attempts to shield Bella from Danielle, Danielle’s multiple
attempts to approach Bella while engaging in reckless and
destructive behavior lead us to find it more likely than not
that Neill and Nancy feared for Bella’s safety. For the same
reasons, we find that it was reasonable for Neill and Nancy
to do so.
                       CONCLUSION
  Although we base our analysis on different reasoning, we
conclude that the trial court did not err in determining that
Bella was a victim of abuse within the meaning of § 42-903.
Accordingly, we affirm.
                                                  A ffirmed.
